Case 1:20-cv-23242-BB Document 40 Entered on FLSD Docket 06/29/2021 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                   For the Southern District of Florida

                              CASE NO.: 1:20-cv-23242-BLOOM/LOUIS

 UNITED STATES OF AMERICA
 ex.el. SEDONA PARTNERS, LLC.

 Plaintiffs

 v.

 ABLE MOVING & STORAGE, INC.,
 ET. AL.

 Defendants,
 ___________________________________/

              NOTICE OF APPEARANCE WITHOUT WAIVING SERVICE
        NOTICE IS HEREBY GIVEN that Christopher W. Wadsworth and the law firm of
 Wadsworth, Margrey & Dixon, LLP, hereby enter their appearance as counsel for Defendant,
 ABLE MOVING & STORAGE, INC., ET. AL., without waiving service.
        Copies of all future pleadings and correspondence should be sent to the undersigned
 counsel at the address written below.
                                      CERTIFICATE OF SERVICE
       WE HEREBY CERTIFY that, on June 29, 2021, a copy of the Notice of Appearance
 Without Waiving Service was filed to all parties in the attached service List

                                                        WADSWORTH, MARGREY & DIXON, LLP
                                                        Attorneys for Defendant
                                                        261 NE 1st Street, 5th Floor
                                                        Miami, FL 33132
                                                        (305) 777-1000 Telephone
                                                        (305) 777-1001 Facsimile



                                                        Christopher W. Wadsworth, Esq.
                                                        Florida Bar No.: 78026
                                                        E-mail: cw@wmd-law.org
                                                        Secondary: pleadings@wmd-law.org




                                         WADSWORTH, MARGREY & DIXON, LLP
              261 NE 1st Street, 5th Floor, Miami, FL 33132 Telephone (305) 777‐1000 Facsimile (305) 777‐1001
Case 1:20-cv-23242-BB Document 40 Entered on FLSD Docket 06/29/2021 Page 2 of 2




                                                  SERVICE LIST

                       United States of America, ex rel. Sedona Partners, LLC
                              Case No. 1:20-cv-23242 BLOOM/LOUIS
                       United States District Court, Southern District of Florida


 James A. Weinkle                                               Justin T. Berger (to be admitted pro hac vice)
 Assistant United States Attorney                               Sarvenaz J. Fahimi (to be admitted pro hac vice)
 Southern District of Florida                                   Crotchet, Pitre & Mc Carthy LLP
 99 NE 4th Street, Third Floor                                  San Francisco Airport Office Center
 Miami, FL 33132                                                840 Malcolm Road
                                                                Burlingame, CA 94010
 Email: james.weinkle@usdoj.gov                                 Email: jberger@cpmlegal.com
 Counsel for United States of America                           sfahimi@cpmlegal.com
                                                                Counsel for Realtor
 Paul E. Pelletier (to be admitted pro hac vice)                Ryon McCabe, Esq.
 Law Offices of Paul Pelletier                                  Robert C. Glass
 3500 Morningside Drive                                         McCabe Rabin PA
 Fairfax, VA 22031                                              1601 Forum Pl #201
                                                                West Palm Beach, FL 33401
 Email: pepelletier3@gmail.com                                  Email: rmaccabe@mcaberabin.com
 Counsel for Realtor                                            rglass@mcaberabin.com




                                          WADSWORTH, MARGREY & DIXON, LLP
               261 NE 1st Street, 5th Floor, Miami, FL 33132 Telephone (305) 777‐1000 Facsimile (305) 777‐1001
